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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                        )
In re:                                                  )    Chapter 11
                                                        )
RTI HOLDING COMPANY, LLC,                               )    Case No. 20-12456 (JTD)
et al.,1                                                )
                                                        )    (Jointly Administered)
                                       Debtors.         )
                                                        )

                                                               Objection Deadline: October 29, 2020 at 4:00 p.m. (ET)
                                                                  Hearing Date: November 5, 2020 at 11:00 a.m. (ET)

     NOTICE OF DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER: (I)
AUTHORIZING DEBTORS TO EMPLOY AND RETAIN FOCALPOINT SECURITIES,
  LLC AS INVESTMENT BANKER TO THE DEBTORS NUNC PRO TUNC TO THE
    PETITION DATE, (II) APPROVING THE TERMS OF THE ENGAGEMENT
 AGREEMENT, (III) MODIFYING CERTAIN TIME-KEEPING REQUIREMENTS,
                 AND (IV) GRANTING RELATED RELIEF

                   PLEASE TAKE NOTICE that on October 15, 2020, the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), filed the attached Debtors’

Application for Entry of an Order: (I) Authorizing Debtors to Employ and Retain FocalPoint

Securities, LLC as Investment Banker to the Debtors Nunc Pro Tunc to the Petition Date,

(II) Approving the Terms of the Engagement Agreement, (III) Modifying Certain Time-Keeping



1 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are as follows:
RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD, LLC (6505); RT of Carroll
County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC (8738); RT Distributing, LLC (6096); RT
Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity, LLC (7159); RT Franchise Acquisition, LLC (1438);
RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC (6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC
(7020); RT Kentucky Restaurant Holdings, LLC (7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC
(4072); RT of Maryland, LLC (7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT
Minneapolis Franchise, LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New
Hampshire Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817); RT Orlando
Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535); RT Southwest Franchise,
LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT Western Missouri Franchise, LLC
(6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT Texas, Inc. (2461); RTTT, LLC (9194); Ruby
Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant, Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby
Tuesday of Frederick, Inc. (4249); Ruby Tuesday of Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby
Tuesday of Pocomoke City, Inc. (0472); Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432).
The Debtors’ mailing address is 333 East Broadway Ave., Maryville, TN 37804.



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Requirements, and (IV) Granting Related Relief (the “Application”) with the United States

Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor, Wilmington,

Delaware 19801 (the “Bankruptcy Court”).

                 PLEASE TAKE FURTHER NOTICE that any response or objection to the

relief sought in the Application must be filed with the Bankruptcy Court on or before October

29, 2020 at 4:00 p.m. prevailing Eastern Time.

                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) the Debtors, RTI Holding Company, LLC,

333     East    Broadway     Ave.,   Maryville,       TN     37804,   Attn:       Shawn     Lederman,

slederman@rubytuesday.com; (ii) proposed counsel for the Debtors, Pachulski Stang Ziehl &

Jones LLP, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705

(Courier 19801), Attn: James E. O’Neill, Esq., joneill@pszjlaw.com; (iii) counsel to Goldman

Sachs Specialty Lending Group, LP (as administrative and collateral agent), Cleary Gottlieb

Steen & Hamilton LLP, One Liberty Plaza, New York, NY 10006, Attn: Sean A. O’Neal, Esq.,

soneal@cgsh.com; (iv) counsel to any statutory committee appointed in these cases; and (v) the

Office of The United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE

19801, Attn: Linda Richenderfer, Esq., linda.richenderfer@usdoj.gov.

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED BY THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE APPLICATION WILL BE HELD ON NOVEMBER 5, 2020

AT 11:00 A.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE JOHN T.




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DORSEY, UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED STATES

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET,

5TH FLOOR, COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.

Dated: October 15, 2020                 PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware


                                        /s/ James E. O’Neill
                                        Richard M. Pachulski (CA Bar No. 90073)
                                        Malhar S. Pagay (CA Bar No. 189289)
                                        James E. O’Neill (Bar No. 4042)
                                        Victoria A. Newmark (CA Bar No. 183581)
                                        919 North Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, DE 19899-8705 (Courier 19801)
                                        Telephone: 302-652-4100
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                                        Proposed Counsel to the Debtors and Debtors in
                                        Possession




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